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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           CRIMINAL ACTION


VERSUS                                             NO: 13-184


CHRISTOPHER JOSEPH                                 SECTION: “J” (2)



                            ORDER AND REASONS

      Before the Court is a Motion for Reconsideration (Rec. Doc.

249) filed by Petitioner Christopher Joseph (“Petitioner”). Having

considered the motion and legal memoranda, the record, and the

applicable law, the Court finds that Petitioner’s motion should

DENIED.

                    FACTS AND PROCEDURAL BACKGROUND

      On August 22, 2013, a federal grand jury charged Petitioner

Christopher Joseph with possession of a firearm by a convicted

felon. (Rec. Doc. 8.) On October 18, 2013, a grand jury returned

a   superseding    indictment     against   Petitioner      and     five    co-

defendants. (Rec. Doc. 16.) The superseding indictment charged

Petitioner with conspiracy to distribute five kilograms or more of

cocaine hydrochloride (Count 1), distribution of 500 grams or more

of cocaine hydrochloride (Count 2), and possession of a firearm by

a convicted felon (Count 4).



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      On July 16, 2014, Petitioner pleaded guilty to Count 1 of the

superseding indictment. (Rec. Doc. 105). Pursuant to a written,

signed plea agreement, Petitioner acknowledged that he understood

the   maximum   penalties   he   faced.   Id.   at   1.   According   to   the

agreement, Petitioner understood that he was subject to a minimum

sentence of twenty years’ imprisonment and a maximum sentence of

life imprisonment. Id. at 1. The agreement also provided that

Petitioner agreed to waive any right to challenge his sentence

collaterally,     unless    he   established     that     the    ineffective

assistance of counsel “directly affected the validity of this

waiver of appeal and collateral challenge rights or the validity

of the guilty plea itself.” Id. at 3. In return, the Government

stipulated that it would file a bill of information under Title

21, United States Code, section 851, alleging only one prior felony

drug conviction. Id. at 1. Otherwise, the Government indicated

that Petitioner would face a mandatory life sentence pursuant to

Title 21, United States Code, sections 841(b)(1)(A) and 851. Id.

      At Petitioner’s rearraignment, the Court accepted his guilty

plea conditionally “in light of the waiver of appellate rights” in

the plea agreement. (Rec. Doc. 102.) The Court sentenced Petitioner

on October 22, 2014. (Rec. Doc. 159.) Petitioner was represented

by Jason Williams. Id. Mr. Williams objected to the drug offense

level calculation and a four-level leadership role enhancement.

(Rec. Doc. 177, at 3.) The Court granted the former objection and

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denied the latter. Id. at 4. After doing so, the Court confirmed

that Petitioner wished to pursue his guilty plea. Id. at 5. While

the Government indicated in the plea agreement that it would file

an    851   bill,   it   did   not    do       so.   Thus,   the   Court    accepted

Petitioner’s guilty plea and sentenced him to 235 months of

imprisonment, a sentence below the minimum of 240 months contained

in the plea agreement. (Rec. Doc. 159.) The Court also sentenced

Petitioner to a ten-year term of supervised release. Id.

       Petitioner filed a notice of appeal on October 27, 2014. (Rec.

Doc. 163.) While the appeal was pending, the parties filed a joint

motion to amend Petitioner’s supervised release sentence. (Rec.

Doc. 216.) The Court granted the motion and scheduled Petitioner

for re-sentencing. (Rec. Doc. 217.) Before the re-sentencing date,

Petitioner filed a section 2255 motion. (Rec. Doc. 219.) Due to

the    pending    appeal,   the   Court         dismissed    the   motion    without

prejudice. (Rec. Doc. 223.)

       Petitioner appeared before the Court for re-sentencing on

August 26, 2015, represented by Alysson Mills. (Rec. Doc. 224.)

The    Court     again   addressed      Petitioner’s         objections      to   the

presentence report, granting the drug offense level calculation

objection and denying the leadership enhancement objection. (Rec.

Doc. 230, at 3.) Petitioner confirmed that he wished to go forward

with his plea. Id. at 5. Accordingly, the Court sentenced him to



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235 months of imprisonment and five years of supervised release.

(Rec. Doc. 225.)

        Petitioner filed an amended notice of appeal on September 9,

2015. (Rec. Doc. 228.) On February 1, 2016, the Fifth Circuit

dismissed Petitioner’s appeals as frivolous. (Rec. Doc. 240.)

Subsequently, Petitioner filed Motion to Vacate, Set Aside, or

Correct Sentence Pursuant to 28 U.S.C. § 2255 by a Person in

Federal Custody in this Court, acting pro se. (Rec. Doc. 241.) The

Court    denied   the    motion   on   June     17,    2016.    (Rec.    Doc.   248.)

Petitioner      subsequently      filed       the     instant    motion,     seeking

reconsideration of his Motion to Vacate.

                        LEGAL STANDARD AND DISCUSSION

        The   Federal   Rules     do   not     expressly       allow    motions   for

reconsideration of an order. Bass v. U.S. Dep’t of Agric., 211

F.3d 959, 962 (5th Cir. 2000). The Fifth Circuit treats a motion

for reconsideration challenging a prior judgment as either a motion

“to alter or amend” under Federal Rule of Civil Procedure 59(e) or

a motion for “relief from judgment” under Federal Rule of Civil

Procedure 60(b). Lavespere v. Niagara Mach. & Tool Works, Inc.,

910 F.2d 167, 173 (5th Cir. 1990), abrogated on other grounds by

Little v. Liquid Air Corp., 37 F.3d 1069, 1076 (5th Cir. 1994).

        The difference in treatment is based on timing. If the motion

is filed within twenty-eight days of the judgment, then it falls

under Rule 59(e). FED. R. CIV. P. 59(e); Lavespere, 910 F.2d at 173.

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However, if the motion is filed more than twenty-eight days after

the judgment, but not more than one year after the entry of

judgment, it is governed by Rule 60(b). FED. R. CIV. P. 60(c);

Lavespere, 910 F.2d at 173. In the present case, Petitioner filed

his Motion for Reconsideration on July 13, 2016, which is within

twenty-eight days of the issuance of the order on June 17, 2016.

As a result, Petitioner’s Motion for Reconsideration is treated as

a motion to alter or amend under Rule 59(e).

     Altering or amending a judgment under Rule 59(e) is an

“extraordinary remedy” used “sparingly” by the courts. Templet v.

Hydrochem, Inc., 367 F.3d 473, 479 (5th Cir. 2004). A motion to

alter or amend calls into question the correctness of a judgment

and is permitted only in narrow situations, “primarily to correct

manifest errors of law or fact or to present newly discovered

evidence.” Id.; see also Schiller v. Physicians Res. Grp. Inc.,

342 F.3d 563, 567 (5th Cir. 2003). Manifest error is defined as

“[e]vident to the senses, especially to the sight, obvious to the

understanding, evident to the mind, not obscure or hidden, and is

synonymous with open, clear, visible, unmistakable, indubitable,

indisputable, evidence, and self-evidence.” In Re Energy Partners,

Ltd., 2009 WL 2970393, at *6 (Bankr. S.D. Tex. Sept. 15, 2009)

(citations omitted); see also Pechon v. La. Dep't of Health &

Hosp., 2009 WL 2046766, at *4 (E.D. La. July 14, 2009) (manifest



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error is one that “is plain and indisputable, and that amounts to

a complete disregard of the controlling law”) (citations omitted).

     The Fifth Circuit has noted that “such a motion is not the

proper   vehicle   for   rehashing       evidence,   legal       theories,      or

arguments that could have been offered or raised before entry of

judgment.” Templet, 367 F.3d at 478-79. Nor should it be used to

“re-litigate prior matters that . . .          simply have been resolved

to the movant’s dissatisfaction.” Voisin v. Tetra Techs., Inc.,

No. 08-1302, 2010 WL 3943522, at *2 (E.D. La. Oct. 6, 2010). Thus,

to prevail on a motion under Rule 59(e), the movant must clearly

establish at least one of three factors: (1) an intervening change

in the controlling law, (2) the availability of new evidence not

previously available, or (3) a manifest error in law or fact. Ross

v. Marshall, 426 F.3d 745, 763 (5th Cir. 2005) (to win a Rule 59(e)

motion, the movant “must clearly establish either a manifest error

of law or fact or must present newly discovered evidence”);

Schiller, 342 F.3d at 567.

     In this case, Petitioner failed to establish any of the three

circumstances listed above. First, he did not show an intervening

change in the controlling law. Second, he did not provide the Court

with any new evidence that was not previously available. Petitioner

requested an evidentiary hearing but did not specify what evidence,

if any, he would produce to prove his claim for ineffective

assistance of counsel. Third, Petitioner did not show that the

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Court’s decision was manifestly erroneous in law or in fact. In

its order denying the Motion to Vacate, the Court held that

Petitioner failed to demonstrate that Mr. Williams’ performance

was deficient or that any deficiency prejudiced his defense.

Petitioner did not show any errors of law or fact in the Court’s

holding. Thus, his Motion for Reconsideration is without merit.

                               CONCLUSION

     Accordingly,

     IT   IS   HEREBY   ORDERED     that      Petitioner’s      Motion    for

Reconsideration (Rec. Doc. 249) is DENIED.

     New Orleans, Louisiana this 12th day of August, 2016.




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                                       CARL J. BARBIER
                                       UNITED STATES DISTRICT JUDGE




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